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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                        Criminal No. 21-173-01 (PJS/DTS)

 UNITED STATES OF AMERICA,

                      Plaintiff,

        v.
                                                 GOVERNMENT’S MOTION IN
                                                 LIMINE TO SEQUESTER
 ANTON JOSEPH LAZZARO,
                                                 WITNESSES
 a/k/a Tony Lazzaro,
 a/k/a Tony,

                      Defendant.



       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Emily Polachek, Laura

Provinzino, and Melinda Williams, Assistant United States Attorneys, hereby submits

its motion in limine to sequester witnesses, with the exception of the Government’s

case agents and expert witnesses.

       Under Federal Rule of Evidence 615, “sequestration of most witnesses is

mandatory when requested . . . but the district court is granted wide latitude in

implementing sequestration orders, and the standard of review is abuse of discretion.”

United States v. Collins, 340 F.3d 672, 680 (8th Cir. 2003). Rule 615 provides, in relevant

part, that “[a]t a party’s request, the court must order witnesses excluded so that they

cannot hear other witnesses’ testimony.” However, Rule 615 does not authorize

exclusion of (1) a party who is a natural person, (2) an officer or employee of a party
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which is not a natural person designated as its representative by its attorney, (3) a person

whose presence is shown by a party to be essential to the presentation of the party’s

cause, or (4) a person authorized by statute to be present. Fed. R. Evid. 615(a)–(d).

Government agents and experts fall within these exceptions to the rule. See United States

v. Engelmann, 701 F.3d 874, 877 (8th Cir. 2012) (“[T]he decision whether to allow the

government’s agent to testify even though the agent sits at the counsel table throughout

the trial is left to the trial court’s discretion.” (Quotations omitted)).

       Accordingly, the Government requests that the Court issue an order sequestering

witnesses during trial, but that the Government’s case agents, FBI Special Agent

Richard Waller and BCA Task Force Officer Brandon Brugger, be exempted from

sequestration.

       The Government has spoken with defense counsel, who has no objection to this

motion. The Government similarly has no objection to any request by defense counsel

to exempt a defense investigator from the sequestration order.

                                                          Respectfully submitted,

Dated: March 6, 2023                                      ANDREW M. LUGER
                                                          United States Attorney

                                                          s/ Emily Polachek
                                                          BY: EMILY A. POLACHEK
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